Case 1:24-cr-10090-WGY Document 15-4 Filed 04/22/24 Page 1 of 2

Book:6417 Page: 2199 .
C) }

= “Wi 22027139 «06/22/2022 12:08:02 PM
Book 6417 Page 2199 Page 1 of 2
Register of Deeds, Rockingham County

Retum to: Oey
Walter F. Norton

Tiffany L. Perry

43 4 Gowing Road LCHIP ROA621866

Hudson, NH 0305t TRANSFER TAX RO116163 9,375.00
RECORDING
SURCHARGE

WARRANTY DEED

KNOW ALL PERSONS BY THESE PRESENTS, that |, Dorothy Kantola, Trustee of the
Kantola Family Trust, created under a certain Trust Agreement dated June 28, 1999, with a
mailing address of 5 High Hill Road, Town of Atkinson, County of Rockingham, State of New
Hampshire 03811, for consideration paid, grant to

Walter F. Norton and Tiffany L. Perry, husband and wife, with a mailing address of 43, Y,
Gowing Road, Town of Hudson, County of Hillsborough, State of New Hampshire 03051, with
warranty covenants and as joint tenants with rights of survivorship,

a certain parcel of land, with buildings and improvements thereon, situate in Atkinson, County of
Rockingham, State of New Hampshire, on the Easterly side of Main Street, bounded and
described as follows:

BEGINNING at the Southwesterly corner thereof at a stone wall on said Main Street at land now
or formerly of Vasilakakis; thence running Easterly by a stone wall and said Vasilakakis land
294.83 feet to an old iron pipe at another stone wall at a right of way and land now or formerly of
Grove 233 feet, more or less, to an iron pipe in said stone wall at land now or formerly of
Jonassen; thence running Westerly, but a little Southerly by said Jonassen; thence running
Westerly, but a little Southerly by said Jonassen land 163.5 feet to an iron pipe; thence
continuing more Westerly by said Jonassen land 209 feet to an iron pipe in the stone wall at said
Main Street; thence Southerly by said stone wall and Main Street 290 feet, more or less, to the
iron pipe at the point of beginning.

TOGETHER WITH the right in common with others to use a right of way now known as High
Hill Road, as shown on plan “Survey, Boynton and Barbara Grover, Atkinson, New Hampshire,
Spaulding E, Owen P.E. September 1956,” duly recorded in Rockingham Records, including that
portion thereof shown on said plan and marked Right of Way which extends across the Easterly
boundary of the within described premises into said land of Grover as reserved to Lillian F.
Brock in her deed to said Grover, duly recorded in Rockingham Records, Book 1413, Page 418.

EXHIBIT 4
e 2 of 2
Case 1:24-cr-10090-WGY Document 15-4 Filed 04/22/24 Pag

of Book:6417 Page: 2200 CO
Se ‘

CERTIFICATE OF TRUSTEE AUTHORITY, I, Dorothy Kanotla, Trustee of the Kantola
Family Trust, created by Robert Kantola and Dorothy Kantola 4$ grantors under a certain Trust

estate and improvements thereon held in said Trust and no purchaser or third party, pursuant to
said Trust, shall be bound to inquire whether the Trustee has said Power or is properly exercising
said power or to ensure the proper allocation of any Trust asset paid 10 the Trustee,

Dated: a! 2022 few, 8) Kent
Dorothy ntola, Trustee as aforesaid

STATE OF NEW HAMPSHIRE
COUNTY OF ROCKINGHAM

Personally appeared before me the above-named, Dorothy Kantola, Trustee of the Kantola
Family Trust, known to me or satisfactorily proven to be the person whose hame is subscribed
to the foregoing instrument, and acknowledged that she executed the same on the of

21!

JAMES Ww, HARDY, Notary Public
ly Commission Expires January 8, 2095
